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                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

THE HUNTINGTON NATIONAL BANK,
a national banking association,

      Plaintiff,                                    CASE NO. 1:24-cv-00305

v.                                                  HON. JANE M. BECKERING
                                                    MAG. JUDGE RAY S. KENT
JV SBAM SA LLC, a Michigan Limited
liability company, JOHN R. GIBBS, an
individual, DIEGO REYES, an individual,
GABRIEL P. WEINERT, an individual,
MICHAEL OUAKNINE, an individual, and
the MICHAEL OUAKNINE LIVING
TRUST DATED AUGUST 27, 2019,

      Defendants.


 ALOIA LAW                                  WILLIAMS, WILLIAMS, RATTNER
 By: JOSEPH N. EJBEH (P48961)                 & PLUNKETT, P.C.
      RALPH COLASUONNO (P55019)             By: Richard E. Rassel, III (P57540)
 Attorneys for Plaintiff                        Jeremy M. Manson (P76920)
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        STIPULATED ORDER OF DISMISSAL WITH PREJUDICE

      This court, after having noted the stipulation of the parties as set forth below

and the court being otherwise fully advised of the premises;
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      NOW THEREFORE:

      IT IS HEREBY ORDERED that this Court shall retain jurisdiction to

enforce the forbearance settlement documents executed and agreed to by the parties.

      IT IS FURTHER ORDERED that this case is dismissed with prejudice and

without costs or fees to any party.

      IT IS SO ORDERED.

      This Order resolves the last pending claim and closes the case.


                                            ______________________________
                                            United States District Judge


Stipulated and agreed:

ALOIA LAW                                   WILLIAMS, WILLIAMS,
                                            RATTNER & PLUNKETT, P.C.

/s/ Joseph N. Ejbeh                         /s/ Richard E. Rassel, III
JOSEPH N. EJBEH (P48961)                    RICHARD E. RASSEL, III (P57540)
RALPH COLASUONNO (P55019)                   JEREMY M. MANSON (P76920)
Attorneys for Plaintiff                     Attorneys for Defendants
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Dated: September 10, 2024
